       Case 2:10-cr-00162-DAD Document 199 Filed 08/05/13 Page 1 of 3


 1   Law Offices of RON PETERS
     Ron Peters (SBN: 45749)
 2   50 Fullerton Court, Suite 207
     Sacramento, California 95825
 3   Telephone: (916) 922-9270
     Facsimile: (916) 922-2465
 4   Email: ronslaw207@sbcglobal.net

 5
     Attorney for Defendant
 6   MARIO NUNEZ, SR

 7

 8                    IN THE UNITED STATES DISTRICT COURT FOR THE

 9                            EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                      Case No.10-cr-00162-JAM-9
11
                                                     STIPULATION AND ORDER
12                         Plaintiff,                TO CONTINUE THE STATUS
                                                     CONFERENCE
13                  vs.

14    MARIO NUNEZ, SR,

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16

17                               PARTIES TO THE LITIGATION

18          The parties to this litigation, the Unites States of America, represented by

19   Assistant United States Attorney, Michael Damien McCoy, Assistant U.S. Attorney and the

20   defendant Mario Nunez, SR., through his attorney, Ron Peters, hereby agree and stipulate

21   that the current date for the status conference in this case, Tuesday, August 6, 2013, is

22   hereby vacated and can be rescheduled for Tuesday, August 13, 2013 at 9:45 a.m. in

23   Courtroom #6, before the Honorable District Court Judge, John A. Mendez.

24          Defense counsel will meet with Mr. Nunez and an interpreter to finalize the plea

25   agreement.

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                      STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
      Case 2:10-cr-00162-DAD Document 199 Filed 08/05/13 Page 2 of 3


 1   DATE: August 1, 2013                         Respectfully submitted

 2

 3                                      By:       /s/Ron Peters
                                                  RON PETERS
 4                                                Attorney for Defendant
                                                  MARIO NUNEZ, SR
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 7
     DATE: August 1, 2013               By:   /s/ Michael Damien McCoy
 8                                                Michael Damien McCoy
                                                  Assistant U.S. Attorney
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                    STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
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       Case 2:10-cr-00162-DAD Document 199 Filed 08/05/13 Page 3 of 3


 1                                               ORDER

 2          The Court, having considered the stipulation of the parties, and good cause

 3   appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based

 4   on the stipulation of the parties, the Court finds that the failure to grant a continuance in

 5   this case would deny defense counsel reasonable time necessary for effective preparation,

 6   taking into account the exercise of due diligence, and defendant continuity of counsel. The

 7   Court specifically finds that the ends of justice served by the granting of such continuance

 8   outweigh the interests of the public and that the time from the date of the stipulation,

 9   August 6, 2013, to and including August 13, 2013.

10           It is so ordered.

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13   Date: 8/5/2013                                      /s/ John A. Mendez
                                                         JOHN A. MENDEZ
14                                                       United States District Court Judge

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                       STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
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